
Ducker, Judge:
Claimant, Columbia Ribbon &amp; Carbon Manufacturing Company, Inc., of Glen Cove, New York, sold and delivered to the Department of Finance &amp; Administration in June, 1964 office supplies evidenced by invoices totaling $94.94. The facts are stipulated by the respondent as true and the values fair, and the claim submitted on the pleadings and stipulation. As it appears that the only reason the claim was not paid was because the respondent was not invoiced until after the close of the fiscal year and so could not be paid, and as the respondent received and had the use of the personal property so sold and delivered to it, we are of the opinion to and do award the claimant the sum of $94.94.
Award of $94.94.
